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OF APPEALS

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DISTRICT OF TEXAS

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WORTH 

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2-07-321-CV

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ERIC
EDGAR CHASE AND ALL OCCUPANTS&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPELLANT

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CITIMORTGAGE,
INC. SUCCESSOR&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPELLEE

BY REASON OF MERGER WITH
CITIFINANCIAL 

MORTGAGE COMPANY, INC.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; FROM COUNTY COURT AT LAW NO. 2 OF
DENTON COUNTY

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; MEMORANDUM OPINION[1] AND JUDGMENT

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On November 15, 2007, we notified appellant that the trial court clerk
responsible for preparing the record in this appeal had informed this court
that arrangements had not been made to pay for the clerk=s record as required by Texas Rule of Appellate Procedure
35.3(a)(2).&nbsp; TEX. R. APP. P. 35.3(a)(2).&nbsp; We stated we
would dismiss the appeal for want of prosecution unless appellant, within
fifteen days, made arrangements to pay for the clerk=s record and provided this court with proof of payment.&nbsp; 

Because appellant has not made payment arrangements for the clerk=s record, it is the opinion of the court that the appeal should be
dismissed for want of prosecution.&nbsp;&nbsp;
Accordingly, we dismiss the appeal. &nbsp;See TEX. R. APP. P. 37.3(b), 42.3(b).

Appellant shall pay all costs of the appeal, for which let execution
issue.

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PER
CURIAM &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

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PANEL D:&nbsp; LIVINGSTON, DAUPHINOT, and HOLMAN, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

DELIVERED:&nbsp; December 13, 2007

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[1]See Tex. R. App. P. 47.4.







